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Magistrate Judge S. Kate Vaughan

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CASE NO. MJ21-370
Plaintiff COMPLAINT for VIOLATION
V. 21 U.S.C. §§ 841(a)(1), (b)\(1)(C)
EZEQUIEL GUADALUPE BELTRAN,
Defendant.

 

 

 

 

BEFORE, S. Kate Vaughan, United States Magistrate Judge, U. S. Courthouse,
Seattle, Washington.

The undersigned complainant being duly sworn states:

COUNT ONE
Possession with Intent to Distribute Fentanyl

On or about April 21, 2021, at Everett, Washington, within the Western District of
Washington, EZEQUIEL GUADALUPE BELTRAN did knowingly and intentionally
possess with intent to distribute N-phenyl-N-[1-(2 phenylethyl)-4-piperidiny]]
propenamide, also known as fentanyl, a Schedule II controlled substance under Title 21,
United States Code, Section 812.

All in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).
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Complaint- 1 UNITED STATES ATTORNEY

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And the complainant states that this Complaint is based on the following
information:

I, Robert Thomas, a Task Force Officer with the United States Department of
Justice, Federal Bureau of Investigation (“FBI”), being first duly sworn on oath, depose
and say:

INTRODUCTION AND AFFIANT BACKGROUND

1. I was hired by the Seattle Police Department on February 9, 2005. I am
currently assigned as a detective in the Seattle Police Department Gun Violence
Reduction Unit where I have worked since April 2009, and I am also assigned to the FBI
Safe Streets Task Force where I have worked since August 2014. I graduated from the
Washington State Criminal Justice Training Commission 720-hour Basic Law
Enforcement Academy on June 25, 2005.

2. I have been provided continuing training from the Seattle Police
Department as well as from outside agencies to include the FBI, the Bureau of Alcohol,
Tobacco, Firearms and Explosives, the Department of Homeland Security, the Federal
Bureau of Prisons, the United States Marshals Service, and other state and local agencies.

3. During my time as a police officer, a detective, and a task force officer I
have investigated and made arrests for numerous narcotics related crimes to include
possession of a controlled substance and possession of a controlled substance with the
intent to distribute.

4, This affidavit is based on my personal knowledge and on information
provided to me by other law enforcement personnel. I have not included in this affidavit
each and every fact and circumstance known to me, but only those facts and
circumstances I believe are sufficient to establish probable cause.

SUMMARY OF PROBABLE CAUSE

5. On April 27, 2021, officers with the Everett Police Department (“EPD”)

arrested EZEQUIEL GUADALUPE BELTRAN (“BELTRAN”). While being booked

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into the Snohomish County Jail, a Snohomish County Sheriff's Office corrections deputy
found approximately 717 suspected fentanyl pills on BELTRAN’s person.
STATEMENT OF PROBABLE CAUSE

6. On April 27, 2021, EPD Officer David Sinex was in the parking lot of a
hotel on 112th Street Southeast in Everett, Washington, when he saw a car that appeared
to be driven by BELTRAN. Officer Sinex recognized BELTRAN because Washington
State Department of Corrections (“DOC”) Officer Louis Mahre had shown Officer Sinex
a photograph of BELTRAN and told Officer Sinex that BELTRAN had an outstanding
DOC arrest warrant for failing to report to the DOC as instructed while on DOC
supervision.

7. Officer Sinex reported via radio that he had seen BELTRAN and watched
an arrest team arrive to arrest BELTRAN. During a search incident to arrest, officers
found a switchblade knife with a spring activated button, a small baggie weighing
approximately 7.02 grams and containing suspected methamphetamine, a glass bulb pipe
with burnt residue, approximately $1,154 in cash, including a variety of small bills, and a
small book that listed numbers and people’s names. The suspected methamphetamine
was field tested and found to contain methamphetamine. Officer Sinex recognized the
book as likely being a drug ledger, a tool commonly used by drug dealers to keep track of
who owes them money. Between the ledger and the large amount of cash, Officer Sinex
believed that BELTRAN was likely dealing drugs, although the relatively small amount
of methamphetamine and the pipe indicated that BELTRAN was likely a
methamphetamine user.

8. BELTRAN was booked into the Snohomish County Jail. During a search of
BELTRAN’s person, a corrections deputy saw a clear plastic baggie containing a large
number blue pills stamped “M30” fall to the floor as BELTRAN removed his pants. The
baggie was seized as evidence and officers estimated that the baggie contained at least

400-500 pills, far greater than a user amount.

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9. These pills appeared to be what are commonly referred to as “blues” or
“smurfs,” or counterfeit oxycodone pills commonly pressed with acetaminophen and a
small amount of fentanyl. Legitimate oxycodone pills do not contain acetaminophen.
Fentanyl is much more potent than heroin, cheap to buy in bulk, and can be ordered
online and shipped to one’s residence. It often causes overdoses and overdose deaths due
to its potency.

10. The pills were field tested using TruNarc and tested presumptively positive
for acetaminophen, confirming that they were likely counterfeit oxycodone pills.

11. EPD officers submitted the suspected narcotics to the Washington State
Patrol Crime Laboratory for examination.

12. On May 5, 2021 the Washington State Patrol Crime Laboratory issued an
examination report on the recovered pills. The report states that the plastic bag contained
717 round blue tablets with the imprint: M|30. One of the tablets was analyzed and found
to contain fentanyl, a Schedule II controlled substance.

Based on the above facts, I respectfully submit that there is probable cause to
believe that EZEQUIEL GUADALUPE BELTRAN did knowingly and intentionally
possess with intent to distribute N-phenyl-N-[1-(2 phenylethy])-4-piperidinyl]

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propenamide, also known as fentanyl, a Schedule II controlled substance under Title 21,

United States Code, Section 812, in violation of Title 21, United States Code, Sections

841(a)(1), (b)1)(C).
pl se

Robert Thomas, Complainant ~
Task Force Officer, FBI

Based on the Complaint and Affidavit sworn to me by telephone, the Court hereby
finds that there is probable cause to believe the Defendant committed the offense set forth
in the Complaint.

Dated this_23rd___ day of June, 2021.

S. KATE Nouaite

United States Magistrate Judge

Complaint- 5 UNITED STATES ATTORNEY

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